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            UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                            Abingdon Division

UNITED STATES OF AMERICA

v.
                                                       REPORT AND
DERRICK LAMONT EVANS, et al.,                          RECOMMENDATION
                                                       Criminal Number:
       Defendants                                      1:08cr00024-051



       This matter is before the undersigned on Defendant Travis Dell Jones’s Motion
To Dismiss Indictment For Violation Of The Interstate Agreement On Detainers,
(Docket Item No. 336) (“Motion”). Based on the reasons set forth below, I find that
a violation of Jones’s rights under the Interstate Agreement On Detainers has
occurred. I further find that this violation requires that the charge pending against him
in this court be dismissed. Based on the facts and circumstances of this case, I
recommend that this charge be dismissed without prejudice.


                                        I. Facts


       The relevant facts in this case are not in dispute, and neither party has requested
to present evidence on the Motion. On April 21, 2008, the government filed a
criminal complaint alleging that Jones and 50 other individuals were involved in a
conspiracy to distribute cocaine base or “crack” and cocaine in the Bristol, Virginia,
area between January 2003 and April 2008, (“Criminal Complaint”). An arrest warrant
was issued for Jones on April 22, 2008. On the face of the warrant, it stated that the


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warrant was to be filed as a detainer with the “Bristol City Jail.” The government
concedes that Jones was sentenced in the Circuit Court for the City of Bristol,
Virginia, to 30 years’ imprisonment, with 24 years and 10 months of that term
suspended, and he was remanded to the custody of the Sheriff of the City of Bristol
on March 27, 2008. The court has no knowledge as to whether the April 22 arrest
warrant was ever filed as a detainer against the defendant with the Bristol City Jail.


      On May 12, 2008, this court issued a Petition For Writ Of Habeas Corpus Ad
Prosequendum to the Bristol, Virginia, City Jail to surrender Jones to the United
States Marshals Service for transport to court for an initial appearance on May 19,
2008. The Marshals Service produced Jones for his initial appearance before this
court on May 19. By Order dated May 20, 2008, the undersigned ordered that Jones
be detained pending trial and remanded to the custody of the Marshals Service based
on the fact that he was “currently serving an active state court sentence.” Despite this
Order, the government now concedes that the Marshals Service returned Jones to the
custody of the Bristol City Jail after his court appearance on May 19.


      On May 28, 2008, a grand jury returned an indictment charging Jones and the
50 other individuals named in the Criminal Complaint with conspiracy to distribute
crack and cocaine, (“Indictment). The government concedes that, as a result of the
Indictment, the Marshals Service filed a detainer against Jones with the Bristol City
Jail on May 29, 2008. A copy of this detainer shows that it incorrectly stated that
Jones was an “unsentenced prisoner.” (Docket Item No. 336, Attachment 2.) The
detainer also incorrectly stated: “The notice and speedy trial requirements of the
Interstate Agreement on Detainers Act do NOT apply to this Detainer because the


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subject is not currently serving a sentence of imprisonment at the time the Detainer
is lodged.”


        On June 9, 2008, the court issued another Petition For Writ Of Habeas Corpus
Ad Prosequendum to the Bristol City Jail to surrender Jones to the Marshals Service
for transport to the court for an arraignment on June 16, 2008. The Marshals Service
produced Jones for his arraignment as scheduled June 16. The government also
concedes that the Marshals Service returned Jones to the custody of the Bristol City
Jail after his arraignment on June 16. A return of the June 9 writ filed by the Marshals
Service on June 20, 2008, shows that the Marshals Service assumed custody of Jones
on June 16, 2008, and returned Jones to state custody on the same day. (Docket Item
No. 329.) It should be noted that the return form had a place on which to indicate
whether or not the person obtained pursuant to the writ was a sentenced state prisoner,
but this information was not completed. Despite the fact that the Marshals Service
routinely houses federal prisoners at the Bristol City Jail, the government does not
contend that Jones was being held in federal custody after his return June 16 to the
Jail.


        On June 20, 2008, Jones’s counsel filed the Motion seeking dismissal of the
charge against Jones based on the violation of Jones’s rights under the Interstate
Agreement on Detainers.


                                     II. Analysis


        The Interstate Agreement on Detainers Act, (“Agreement”), was enacted into


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federal law in 1970 and has been adopted or enacted in 48 of the 50 states, including
Virginia. See 18 U.S.C.A. App. 2 (West 2000); VA. CODE ANN. § 53.1-210 et seq.
(2005 Repl. Vol.). The stated purpose of the Agreement is “to encourage the
expeditious and orderly disposition of [pending] charges and determination of the
proper status of any and all detainers based on untried indictments, informations, or
complaints” filed against prisoners. 18 U.S.C.A. App. 2, § 2, Art. I (West 2000); VA.
CODE ANN. §53.1-210, Art. I (2005 Repl. Vol.). The legislative history reflects two
important goals to be accomplished by the clearing of pending charges. The first is
“to permit the prisoner to secure a greater degree of certainty as to his future and to
enable the prison authorities to plan more effectively for his rehabilitation and return
to society.” S. REP. NO. 91-1356 (1970) as reprinted in 1970 U.S.C.C.A.N. 4864,
4865. In particular, it was noted that prisoners against whom detainers had been filed
were often denied access to certain prison rehabilitation programs or privileges. See
United States v. Mauro, 436 U.S. 340, 359-60 (1978). The second goal is to “provide[]
a method whereby prosecuting authorities may secure prisoners serving sentences in
other jurisdictions for trial before the expiration of their sentences and before the
passage of time has dulled the memory or made witnesses unavailable.” 1970
U.S.C.C.A.N. at 4865.


      The Agreement applies only when a detainer has been filed by one party state
against “a person [who] has entered upon a term of imprisonment in a penal or
correctional institution” of another party state. 18 U.S.C.A. App. 2, § 2, Art. III (West
2000); VA. CODE ANN. §53.1-210, Art. III (2005 Repl. Vol.). While the Agreement
does not define the term “detainer,” the legislative history reflects that a detainer is
simply “a notification filed with the institution in which a prisoner is serving a


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sentence, advising that he is wanted to face pending criminal charges in another
jurisdiction.” 1970 U.S.C.C.A.N. at 4865; see also Mauro, 436 at 359.                 The
Agreement does not define the term “penal or correctional institution.”


       Under the section known as the “anti-shuttling provision” of the Agreement,
once a detainer is filed against a prisoner in one jurisdiction, (the “sending state”), and
the jurisdiction filing the detainer, (the “receiving state”), obtains custody of the
prisoner, the charges against the prisoner must be disposed of in the receiving state
before the prisoner is returned to the sending state. Under this provision, if the
prisoner is returned to the sending state before the receiving state disposes of the
charges, the charges in the receiving state must be dismissed. See 18 U.S.C.A. App.
2, § 2, Art. IV(e) (West 2000); VA. CODE ANN. §53.1-210, Art. IV(e) (2005 Repl.
Vol.). The Agreement as originally enacted by the federal government, and as
adopted by Virginia, states that dismissal of the charges should be with prejudice.
See 18 U.S.C.A. App. 2, § 2, Art. IV(e); VA. CODE ANN. §53.1-210, Art. IV(e). In
1988, however, federal law was amended to state that in any case where the federal
government was the receiving state such a dismissal “may be with or without
prejudice.”   18 U.S.C.A. App. 2, § 9 (West 2000). This section further states: “In
determining whether to dismiss the case with or without prejudice, the court shall
consider, among others, each of the following factors: The seriousness of the offense;
the facts and circumstances of the case which led to the dismissal; and the impact of
a reprosecution on the administration of the agreement on detainers and on the
administration of justice....” 18 U.S.C.A. App. 2, § 9(1) (West 2000).


       In this case, the government admits that the Marshals Service filed a detainer


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against Jones with the Bristol City Jail on May 29, 2008. Once a detainer has been
filed, even though the defendant is produced in federal court pursuant to a writ, the
Agreement is applicable. See Mauro, 436 U.S. at 361-62. Despite this court’s Order
that Jones be detained in federal custody, the government concedes that he was
returned to state custody at the Bristol City Jail. Therefore, the court finds that when
Jones was returned to the Bristol City Jail, he was returned to state custody. But see
United States v. Persinger, 562 F.Supp. 557, 562 (W.D. Pa. 1982) (magistrate’s oral
order detaining defendant in federal custody is “self-executing as to prisoner’s custody
status and its efficacy is unimpaired” by act of Marshals Service failing to designate
defendant as a federal prisoner).


      The government argues that the Agreement does not apply in this case because
Jones was still being held in the local jail, and, therefore, he had not yet “entered upon
a term of imprisonment in a penal or correctional institution of a party State.” In
support of this argument, the government cites two Sixth Circuit Court of Appeals
cases, both of which appear to turn on a finding that a sentenced prisoner being held
in a local facility has not “entered upon a term of imprisonment in a penal or
correctional institution.” See Jenkins v. United States, 394 F.3d 407, 413-14 (6th Cir.
2005): United States v. Taylor, 173 F.3d 538, 541 (6th Cir. 1999); see also Crooker v.
United States, 814 F.2d 75, 77-78 (1st Cir. 1987). These cases reason that, since the
Agreement is designed to protect against interruption of a prisoner’s rehabilitation, it
should not be applicable to sentenced prisoners housed in local facilities designed for
temporary custody which often do not offer any type of rehabilitation programs. See
Taylor, 173 F.3d at 541 (citing Runck v. State, 497 N.W.2d 74, 81 (N.D. 1993)).
      After reviewing each of these cases, the court is of the opinion that the


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reasoning used in each is no longer persuasive in light of the Supreme Court’s
decision in Alabama v. Bozeman, 533 U.S. 146 (2001). In Bozeman the Supreme
Court rejected the argument that a brief transfer of custody should not be a violation
of the Agreement because it did not actually interrupt the prisoner’s rehabilitation. See
533 U.S. at 152-56. Furthermore, the language of the Agreement does not require that
the prisoner was housed in a facility that provides some type of rehabilitative program.
The language of the Agreement requires only that the prisoner must be serving a term
of imprisonment in a “penal or correctional institution.” See 18 U.S.C.A. App. 2, § 2,
Art. III; VA. CODE ANN. §53.1-210, Art. III.


      As stated above, the Agreement does not define the term “penal or correctional
institution.” Under Virginia law, however, the definition of “local correctional
facility” includes a jail such as the Bristol City Jail. See VA. CODE ANN. § 53.1-1
(2005 Repl. Vol.). Based on this, the court rejects this argument and finds that, at the
time the federal detainer was filed against him, Jones was a state prisoner who had
“entered upon a term of imprisonment in a penal or correctional institution of a party
State.”


      That being the case, the court finds that the Marshals Service violated Jones’s
rights under the Agreement when it temporarily obtained him from state custody and
then returned him to state custody before this court disposed of the charges against
him. Having found a violation of the anti-shuttling provisions of the Agreement, it
is of no consequence how technical or slight the violation. See Bozeman, 533 U.S. at
152-56. Thus, the only issue remaining before the court is whether the dismissal of the
charge against Jones should be with or without prejudice.


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      Jones argues that dismissal of the charge should be with prejudice because
Virginia has never adopted the language contained in § 9 of the federal law which
allows for a dismissal of federal charges without prejudice. The Agreement is a
congressionally sanctioned interstate compact. See U.S. CONST. art. I, §10. As such,
the Agreement is a federal law subject to federal construction. See Bozeman, 533 U.S.
at 149; Cuyler v. Adams, 449 U.S. 433, 442 (1981). That being the case, the Fourth
Circuit has held that individual states may not unilaterally amend the terms of the
Agreement as approved by Congress. See Bush v. Muncy, 659 F.2d 402, 411-13 (4th
Cir. 1981). Nonetheless, insofar as the Agreement is binding on the United States, it
is a matter of federal law. The terms of the Agreement as enacted into federal law
included the express right to amend or alter the Agreement. See 18 U.S.C.A. App. 2,
§ 7 (West 2000). Pursuant to that right, the federal law was amended in 1988 to give
federal courts the option of dismissing a charge without prejudice. Furthermore, under
the Supremacy Clause of the U. S. Constitution, whenever state law conflicts with
federal law, federal law controls. See U.S. CONST. art VI; see also Bozeman, 533 U.S.
at 156 (federal statutory provision that allows for dismissal of charges with or without
prejudice governs when the United States is the receiving state). Therefore, the court
holds that it has the authority to dismiss the charge against Jones without prejudice.


      In determining whether to dismiss the charge against Jones with or without
prejudice, the court must consider, among others, the factors specifically listed in § 9.
Jones is charged with violating 21 U.S.C. § 846 by conspiring to possess with intent
to distribute and to distribute 50 grams or more of crack cocaine. The offense with
which Jones is charged is serious, in that, if convicted, Jones faces a mandatory
minimum prison sentence of at least 10 years’ imprisonment. Also, the Indictment


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charges that Jones was involved in a complex, large-scale crack and cocaine
distribution conspiracy. According to the facts presented in the affidavit attached to
the Criminal Complaint, on March 24, 2008, Jones admitted to law enforcement
officers that he had been distributing crack in the Bristol, Virginia, area for the past
year and had obtained approximately one ounce of crack on approximately 50
occasions during the course of the previous year from co-defendant Reginald Morton.


      Also, the facts and circumstances of this case show that Jones was removed
from and returned to state custody on the same date. Therefore, any interruption in his
state rehabilitative efforts was necessarily brief. While, under Bozeman, this may no
longer be taken into account in determining whether there has been a violation of the
Agreement, it may be considered by the court in determining whether the violation
justifies dismissal of the charge with prejudice. See United States v. Kelley, 402 F.3d
39, 42 (1st Cir. 2005). It is clear from the face of the court’s own detention order that
the Marshals Service should have known that Jones was serving a state court sentence
and, therefore, under the terms of the court’s order and the Agreement, the Marshals
Service should not have returned Jones to state custody. However, no party has
offered any explanation as to how or why this error occurred, including offering no
evidence of any improper motive on the part of the Marshals Service. Furthermore,
neither party has argued that the reprosecution of Jones would have any particular
impact on the administration of the Agreement or the administration of justice. In
particular, Jones has offered no evidence or argument that he was prejudiced in any
way by his return to state custody. That being the case, I recommend that the court
dismiss the charge against Jones without prejudice.



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                      PROPOSED FINDINGS OF FACT


      As supplemented by the above summary and analysis, the undersigned now
submits the following formal findings, conclusions and recommendations:


      1.    Prior to May 29, 2008, both Virginia and the United States
            had adopted the Agreement;
      2.    On May 29, 2008, Jones was in the custody of the Bristol City
            Jail serving a Virginia state court sentence;
      3.    Prior to May 29, 2008, Jones had “entered upon a term of
            imprisonment in a penal or correctional institution of a party
            State” under the Agreement;
      4.    The Marshals Service filed a detainer against Jones with the
            Bristol City Jail on May 29, 2008, based on the Indictment
            returned on May 28, 2008, charging him with violating 21
            U.S.C. § 846;
      5.    Pursuant to a writ, the Marshals Service took custody of Jones
            on June 16, 2008, produced him in this court for an
            arraignment on the pending Indictment and then returned him
            later that same day to state custody at the Bristol City Jail;
      6.    When Jones was returned to state custody on June 16, 2008,
            the Indictment remained pending against him in this court;
      7.    By returning Jones to state custody on June 16, 2008, the
            Marshals Service violated Jones’s rights under the “anti-
            shuttling provision” of the Agreement, requiring dismissal of


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            the charge contained in the Indictment against Jones in this
            court; and
      8.    Under the facts and circumstances of this case, the charge
            contained in the Indictment against Jones should be dismissed
            without prejudice.


                         RECOMMENDED DISPOSITION


      The undersigned recommends that this court grant the Motion and dismiss the
charge pending against Jones without prejudice.


                                 Notice to Parties


      Notice is hereby given to the parties of the provisions of 28 U.S.C.A.
§ 636(b)(1)(c):


              Within ten days after being served with a copy [of this
              Report and Recommendation], any party may serve and
              file written objections to such proposed findings and
              recommendations as provided by rules of court. A judge
              of the court shall make a de novo determination of those
              portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of
              the court may accept, reject, or modify, in whole or in
              part, the findings or recommendations made by the
              magistrate judge. The judge may also receive further
              evidence or recommit the matter to the magistrate judge
              with instructions.

      Failure to file timely written objections to these proposed findings and

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recommendations within 10 days could waive appellate review. At the conclusion of
the 10-day period, the Clerk is directed to transmit the record in this matter to the
Honorable James P. Jones, Chief United States District Judge.


      The Clerk is directed to send certified copies of this Report and
Recommendation to all counsel of record at this time.


      DATED:        This 6th day of August 2008.



                                       /s/   Pamela Meade Sargent
                                              UNITED STATES MAGISTRATE JUDGE




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